Case 2:04-cr-20464-BBD Document 78 Filed 05/31/05 Page 1 of 2 PagelD 85
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lN THE UN|TED STATES DlSTR|CT COURT /
FOR THE WESTERN DlSTR|CT OF TENNESSEE 35 f"i.-Et'."{ 3[ Pt'i 3: \Li
WESTERN DlVIS|ON

 

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UNlTED STATES OF A|V|ERICA
P|aintiff

VS.
CR. NO. O4~20464-D

KATHY SIV|ITH DENTON,
TR]DEANNA CONNER

Defendant.

 

ORDER ON CONT!NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursday, July 21l 2005, at 9:00 a.m., in Courtroom 3 ch Floor of the
Federal Building, |V|emphis, TN.

 

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

|T |S 80 ORDERED thiS, 2[ day Of |V|ay, 2005.

 

UN|TED STATES D|STR|CT JUDGE

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This notice confirms a copy of the document docketed as number 78 in
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Honorable Bernice Donald
US DISTRICT COURT

